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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

                                                                            Electronically Filed

 THE HONORABLE ORDER OF                         )
 KENTUCKY COLONELS, INC.                        )
                                                )
         PLAINTIFF                              )
                                                )
                                                )
 v.                                             ) CIVIL ACTION NO. 3:20CV-132-RGJ
                                                )
 KENTUCKY COLONELS                              )
 INTERNATIONAL, et al.                          )
                                                )
                                                )
         DEFENDANTS                             )


                                            ORDER

       Upon motion of Plaintiff The Honorable Order of Kentucky Colonels, Inc. to compel

Defendant David J. Wright to appear for an asset discovery deposition, and to enter sanctions

awarding HOKC its attorney’s fees related to the preparation and filing of the instant motion, the

parties having responded, and the Court being otherwise duly and sufficiently advised,

       IT IS HEREBY ORDERED that the motion be, and is hereby, granted and Defendant

David J. Wright shall appear for an asset discovery deposition and sanctions will be awarded for

attorney’s fees.
